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 8                                   UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                        No. 2:07-cr-088 KJM
12                      Plaintiff,
13           v.                                       ORDER
14   JESUS VALENCIA ONTIVEROS,
15                      Defendant.
16

17                  Defendant Valencia Ontiveros was sentenced on November 24, 2008, to 235

18   months in prison for his role in a drug trafficking conspiracy. Represented by the Federal

19   Defender’s Office, he now moves to reduce his sentence to 151 months under 18 U.S.C. §

20   3582(c)(2). Mot., ECF No. 394. Defendant relies on Amendment 782 to the U.S. Sentencing

21   Guidelines (“U.S.S.G.”) § 1B1.10, which became effective November 1, 2014 and lowered by

22   two points the base offense level for most drug trafficking offenses. The Amendment applies

23   retroactively to defendants sentenced prior to its effective date. See Serrano v. United States, No.

24   1:02-CR-05319-LJO, 2014 WL 6773237, at *1 (E.D. Cal. Nov. 10, 2014). The government

25   concedes defendant is entitled to a sentence reduction, but challenges the extent of his requested

26   reduction. Opp’n, ECF No. 396. After careful consideration, the court GRANTS defendant’s

27   motion and REDUCES his sentence, but to 188 months instead of 151 months.

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 1      I.      BACKGROUND
 2                  Defendant pled guilty to violating 21 U.S.C. §§ 846 and 841(a)(1), possession with
 3   intent to distribute 1.168 kilograms of methamphetamine and conspiracy to do the same.
 4   Superseding Indictment, ECF No. 42; Sentencing Mins., ECF No. 242. His offense level at the
 5   time of sentencing was 36, with a two-level increase for firearm possession and a three-level
 6   reduction for acceptance of responsibility. See Presentence Investigation Report (“PSR”), ECF
 7   No. 323 (SEALED), at 14-15. The adjusted offense level of 35, paired with defendant’s Category
 8   II criminal history, resulted in a Sentencing Guidelines range of 188 to 235 months. Id. at 15-16.
 9   The court imposed a 235 month sentence, the high-end of the Guidelines range. Judgment, ECF
10   No. 244, at 1-2.
11                  Sentencing Guidelines Amendment 782, which changed the base offense level for
12   crimes involving 500 grams to 1.5 kilograms of methamphetamine, subsequently reduced
13   defendant’s offense level from 36 to 34. U.S.S.G. § 2D1.1(c)(3). With the firearm possession
14   enhancement and acceptance of responsibility decrease, his adjusted offense level becomes 33,
15   which, when paired with a Category II criminal history, produces an amended guideline range of
16   151 to 188 months. See Opp’n at 2; Mot. at 2. Stated differently, the motion for a sentence
17   reduction based on Amendment 782, if granted, reduces his sentencing range by 47 months. The
18   government concedes a reduction is warranted, but opposes defendant’s request for a reduction to
19   151 months, at the low end of the amended range. Opp’n at 2. Instead, the government asks that
20   the court reduce defendant’s sentence to 188 months, the high end of the range.
21      II.     LEGAL STANDARD
22                  The district court’s authority to modify a prison sentence “based on a guideline
23   range that is later lowered by the Sentencing Commission” derives from 18 U.S.C. § 3582(c)(2).
24   United States v. Rodriguez-Soriano, 855 F.3d 1040, 1042 (9th Cir. 2017) (citing § 3582(c)(2)).
25   “The Supreme Court has clarified that section 3582(c)(2) requires a two-step inquiry.” United
26   States v. Dunn, 728 F.3d 1151, 1155 (9th Cir. 2013) (citing Dillon v. United States, 560 U.S. 817,
27   827 (2010)). “First, a district court must determine whether a prisoner is eligible for a sentence
28   modification under the Commission’s policy statement in U.S.S.G § 1B1.10.” Id. (citing Dillon,
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 1   560 U.S. at 827). This is done “by ‘determin[ing] the amended guideline range that would have
 2   been applicable to the defendant’ had the relevant amendment been in effect at the time of the
 3   initial sentencing.” Dillon, 560 U.S. at 827 (quoting § 1B1.10(b)(1)). The government here
 4   concedes the first step is satisfied because defendant is eligible for a sentence reduction within the
 5   new range of 151 to 188 months. Opp’n at 2-3.
 6                   The second step requires the court to consider “any applicable § 3553(a) factors
 7   and determine whether, in its discretion, the reduction authorized by reference to the policies
 8   relevant at step one is warranted in whole or in part under the particular circumstances of the
 9   case.” Dillon, 560 U.S. at 827; see also U.S.S.G. § 1B1.10 (“The authorization of such a
10   discretionary reduction does not otherwise affect the lawfulness of a previously imposed
11   sentence, does not authorize a reduction in any other component of the sentence, and does not
12   entitle a defendant to a reduced term of imprisonment as a matter of right.”). Application note
13   1(B)(ii) to U.S.S.G. § 1B1.10 directs that “[t]he court shall consider the nature and seriousness of
14   the danger to any person or the community that may be posed by a reduction in the defendant’s
15   term of imprisonment . . . .” Application note 1(B)(iii) further provides that “[t]he court may
16   consider post-sentencing conduct of the defendant that occurred after the imposition of the term
17   of imprisonment . . . .” Both application notes specify these factors are relevant in determining
18   “whether such a reduction is warranted” and if so, “the extent of such reduction,” but only within
19   the applicable guideline range. U.S.S.G. § 1B1.10, Application notes 1(B)(ii)-(iii); Dunn, 728
20   F.3d at 1155.
21      III.    ANALYSIS
22                   As noted, the government concedes a sentence reduction is warranted, but argues
23   the reduction should be limited to 47 months off the prior sentence.
24                   The court agrees. As defendant concedes, “[t]ypically the Court will grant an
25   Amendment 782 reduction on par within the guidelines as the original sentence, i.e. if the original
26   sentence was a high-end guideline sentence then the reduction would also be to the high-end of
27   the guidelines.” Mot. at 2. The reduction naturally anticipated under Amendment 782, therefore,
28   totals 47 months, reducing defendant’s high end sentence of 235 months down to a new high-end
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 1   sentence of 188 months. Defendant cites his imminent deportation and his ten years of
 2   incarceration “without any disciplinary actions” as reason not only to reduce his sentence to fit
 3   the high end of the amended guideline range, but also to reduce his sentence to the lowest figure
 4   within the amended range, 151 months. Mot. at 4-5.
 5                  The court is not persuaded. The high-end sentence remains appropriate:
 6   Defendant was one of the leaders in an armed drug trafficking conspiracy and his vehicle
 7   contained a loaded .357 revolver. See PSR at 9-11, 14-15. Although defendant’s dangerousness
 8   and post-conviction behavior is relevant in assessing whether to reduce his sentence at all,
 9   defendant cites no authority supporting his request for the lowest possible sentence within the
10   reduced range. Such a low-end sentence would undermine both the seriousness of his offense and
11   the careful balancing of § 3355(a)’s factors that molded the court’s determination of his original
12   sentence. See Judgment; Sentencing Mins; cf. United States v. Martinez, 678 F. App’x 603, 604
13   (9th Cir. 2017) (summarily affirming district court’s denial of similar request based on
14   Amendment 782; explaining “in light of the nature of Martinez’s offense . . . the district court did
15   not abuse its discretion by reducing Martinez’s sentence to the high-end of the amended
16   Guidelines range” and noting “the district court adequately addressed his arguments for a further
17   reduction and explained its sentencing decision.”) (citations omitted).
18                  In sum, the court agrees defendant is entitled to a sentence reduction under
19   Amendment 782, but finds the circumstances here warrant no more than a 47-month reduction.
20      IV.     CERTIFICATE OF APPEALABILITY
21                  No certificate of appealability will issue. A certificate of appealability may issue
22   under 28 U.S.C. § 2253 “only if the applicant has made a substantial showing of the denial of a
23   constitutional right.” 28 U.S.C. § 2253(c)(2). The Supreme Court has instructed that a petitioner
24   must show “reasonable jurists could debate whether . . . the petition should have been resolved in
25   a different manner or that the issues presented were adequate to deserve encouragement to
26   proceed further.” Slack v. McDaniel, 529 U.S. 473, 484 (2000). Defendant here has made neither
27   showing. 28 U.S.C. § 2253(c)(2). No reasonable jurists would find this court’s assessment of
28   defendant’s claims debatable or wrong.
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 1      V.     CONCLUSION
 2                 Defendant’s motion to reduce his sentence under 18 U.S.C. § 3582(c)(2) is
 3   GRANTED, but instead of reducing his sentence to 151 months as requested, the court
 4   REDUCES defendant’s sentence to 188 months, the high end of the amended guideline range.
 5                 IT IS SO ORDERED.
 6                 This resolves ECF No. 394.
 7   DATED: March 6, 2018.
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                                           UNITED STATES DISTRICT JUDGE
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